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Commonwealth o Massachusetts
MIDDLESEX SUPERIOR COURT DEPARTMENT
THE TRIAL COURT
Woburn

Docket#2181CV00679

I, C. Andrew Johnson, Deputy Assistant Clerk of the Superior Court, Within and
for said County

of Middlesex, do certify that the annexed papers are true copies made by
photographic process of

pleadings in 2181CV00679 entered in the Superior Court on the 26th day of
March in the year of our Lord 2021.

In testimony whereof, I hereunto set my hand and affix seal of said Middlesex
Superior Court at

Woburn in said county, this 9th day of June, in the year of our Lord Two
Thousand Twenty-One.

  
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COMMONWEALTH OF MASSACHUSETTS

MIDDLESEX, SS. | SUPERIOR COURT DEPARTMENT

CIVIL ACTIONNO.: Q/S1CU G 79
RECEIVED
3/26/2021

DANTE A. DIFRONZO
V.

CITY OF SOMERVILLE, MAYOR JOSEPH CURTATONE, CHIEF DAVID FALLON,
CAPTAIN BERNARD COTTER

 

COMPLAINT

 

INTRODUCTION

This is an action brought under 42 U.S.C. §1983 for deprivation of liberty and property
interests in violation of the First, Fifth and Fourteenth Amendments to the U.S. Constitution and
related tort claims including defamation and wrongful termination. The action is brought by
Dante DiFronzo ("Detective DiFronzo" or “Plaintiff”) who previously served as a Detective
within and for the Somerville Police Department. The Defendants, individually and/or
collectively, knowingly and/or wrongfully attempted to and did interfere with Plaintiff's
employment contract by retaliating against him and wrongfully terminating his employment and
denying him Due Process of law as a result of conducting a flawed investigation, intentionally
distorting, ignoring and/or withholding critical exculpatory evidence beneficial to the Plaintiff.

As a consequence of their actions, the Defendants wrongfully terminated the employment
of the Plaintiff and thereafter defamed and slandered the Plaintiff and held him up to ridicule and
scorn within his community. The Defendants’ interference with Plaintiff's contractual
relationship was wrongful and intentional and done through improper motives and means so as to
cause Plaintiff to sustain harm and damages as a result of their actions. As a result of said
actions, the Plaintiff has sustained significant financial damages and suffered emotional distress.
The Plaintiff brings claims for violations of the common law as well.

PARTIES

1. The Plaintiff, Dante DiFronzo, is an individual residing in Somerville, Middlesex
County, the Commonwealth of Massachusetts.
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The Defendant, City of Somerville, is a public employer within the meaning

of Massachusetts General Laws, Chapter 258, §1, et seq., and at all times herein relevant

operated through its agents, servants and employees of the Somerville Police Department

Defendant Joseph Curtatone was at all relevant times the elected Mayor of the City of
Somerville and is sued in both his individual and official capacities.

Defendant David Fallon was at all relevant times, the Chief of Police for the Somerville
Police Department and is sued in both his individual and official capacities.

Defendant Bernard Cotter was at all relevant times, a Captain in the Somerville Police
Department and is sued in both his individual and official capacities.

FACTUAL ALLEGATIONS

The Plaintiff, Dante DiFronzo was born and raised in Somerville. He has lived in
Somerville for fifty-one years.

The Plaintiff went to St. Clements grammar school in Somerville and then to Malden
Catholic High School. He obtained a political science degree from the University of
Massachusetts at Boston, and a Masters’ Degree in criminal justice from Anna Maria
College.

The Plaintiff is married to his wife Nicole DiFronzo. They have three daughters aged 13,
15, and 16.

Because of his long-standing personal and familial relationship with the City of
Somerville, the Defendants’ wrongful termination of the Plaintiff has had a devastating
impact on both the Plaintiff and his family.

The Plaintiff was hired as a police officer for the City of Somerville on November 14,
2008. He entered the Boston Police Academy on December 8, 2008 and completed his
academy training in July 2009.

Upon graduation from the police academy, the Plaintiff began patrol duties with the
Somerville Police Department (“SPD”) and underwent a seven-week field training
program. The Plaintiff received firearms training, CPR training and defensive tactics
training.

The Plaintiff initially worked within the patrol division for approximately three years and
was involved in a critical incident early in his career. As a result of the Plaintiff's
response to this incident he received a Medal of Honor, Medal of Valor, Purple Heart,

and life-saving medal from the Somerville Police Department (Hereinafter “SPD”).
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In early 2011, Defendant David Fallon recruited the Plaintiff to apply for a position
within the Detective Bureau. Somerville Police Officers are promoted into the Detective
Bureau by application/oral board selection which is reviewed and voted upon within the
Department by two Superior Officers and two Union E Board Police Officers.

The SPD Detective Bureau has a Family Services Division, Narcotics Division, School
Resources detective, an evidence detective, a juvenile detective and a general Detectives
Division.

The Plaintiff was assigned to “CID” Criminal Investigations Division in October 2011.

As a part of his detective duties, the Plaintiff attended daily internal meetings within the
Detective Bureau and would also attend regular meetings with other detective agencies
within the area, called “impact players meeting.”

Despite the wide-spread use of confidential informants and street sources within the
Somerville Detective Bureau, the Defendants did not provide any formal training to the
Plaintiff regarding the use of “confidential informants” or “street sources” prior to or
during his assignment to the Detective Bureau.

By January 2015, the Plaintiff begun to use “street sources” as an integral part of his job.
He had learned to do so from other senior detectives who were routinely using street
sources as well.

Law enforcement routinely recognizes the distinction between confidential informants
and street sources.

The information obtained from an identified “confidential informant” is kept confidential
to protect the identity of the person. Their identify is not shared outside of law
enforcement, including prosecutors.

In addition to confidential informants, the Somerville Police Department routinely
employed the use of “street sources” as a means of obtaining information regarding
criminal activity.

While formally identified “confidential informants” are required to be registered by the
Department’s internal Rules and Regulations, neither the Defendant David Fallon nor the
Department had any formal or written policy regarding the use of so-called “street
sources.”

Although the Department was fully aware that most “street sources” tended to be
criminals themselves, they actively encouraged the use of them as sources of information.

Despite their obvious potential for criminal activity by “street sources,” the SPD provided
no formal oversight of the use of “street sources” by officers.
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Neither the City nor Defendant David Fallon ever issued a policy that indicated how
“street sources” were to be used or what procedure to be followed in the event of
discovery of potential criminal activity by street sources.

Jonathan Machado (“Machado”) was a “street source” known to the Plaintiff.

The Plaintiff had investigated Mr. Machado previously for various crimes committed
within the City.

The Plaintiffs first encounter with Jonathan Machado occurred in 2013. At that time,

Detective DiFronzo was assigned to investigate a breaking and entering at the Central
Convenience Store located on Mystic Avenue in Somerville.

Detective DiFronzo investigated and charged Jonathan Machado and his co-conspirator,
Jared Hiltz, with breaking and entering in the nighttime and conspiracy after investigating
that incident. Ironically, Detective DiFronzo used street sources in that investigation
which ultimately led to the arrest and prosecution of Mr. Machado and Mr. Hiltz.

In December 2014, Defendant David Fallon approached Detective DiFronzo and advised
him of several motor vehicle breaking and entering incidents, one of which had resulted
in the theft of a Somerville Police Officer’s badge and ballistic vest.

Given the importance of the recovery of the badge and ballistic vest, Defendant David
Fallon specifically asked Detective DiFronzo to utilize his resources in the street and
investigate the theft of the Somerville Police Officer’s stolen equipment.

The Plaintiff used other “street sources” to identify the suspect involved in the theft, who
turned out to be Jonathan Machado.

Detective DiFronzo subsequently went to Mr. Machado’s location, spoke with Mr.
Machado and approximately two hours later, Machado produced the stolen badge and
ballistic vest. Machado was never charged with that offense.

Detective DiFronzo immediately reported his actions regarding the investigation of
Machado and recovery of the badge and ballistic vest to Defendant David Fallon. The
Plaintiff also reported the incident to the crime analyst and entered his police report into
the Department’s reporting system.

Neither Defendant David Fallon nor any other supervisor told Detective DiFronzo that he
should not have used street sources or handled the investigation in the manner that he did.

On February 24, 2015, Detective DiFronzo began a lengthy investigation of a home
invasion that had occurred at 12 Kilby Street, Apartment #3, Somerville.

One of the suspects, later identified as Mario Mestanza Moran, had entered the apartment
wearing a mask, brandishing a gun, demanding money and “weed.”
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As a result of the investigation, Mario Mestanza Moran was subsequently arrested by the
Plaintiff for the Kilby Street home invasion that occurred on February 24, 2015.

Another witness reported to Plaintiff that the second person involved in the Kilby Street
home invasion was “Sonny Mendoza, who resides at 12A Kilby Street, Apt. #2.

The same witness stated that another person identified as “Henry” had robbed Jonathan
Machado of a quantity of marijuana.

The Plaintiff had a conversation with Jonathan Machado on February 28, 2015 and
learned that the person responsible for the breaking and entering that occurred at 12 Kilby
Street, Apartment #3 on February 27, 2015 was Henry Alvarez.

Mr. Machado stated that he was upset with Mr. Alvarez for stealing his “weed” the night
before and he intended to cause Alvarez harm. The Plaintiff warned Machado on several
occasions not to harm Alvarez because if he did, the Plaintiff stated, “I’ll lock you up.”

At no time did the Plaintiff ever encourage or suggest the use of force by Jonathan
Machado against Henry Alvarez, let alone the idea of a home invasion.

To the contrary, once the Plaintiff, learned of the assault on Henry Alvarez, he
investigated the matter and personally arrested Jonathan Machado on March 24, 2015 for
the home invasion and assault upon Mr. Alvarez.

Based upon the information obtained by the Plaintiff's investigation, Jonathan Machado

subsequently pled guilty to several offenses including the assault and home invasion upon
Mr. Alvarez and is currently incarcerated.

During the latter part of his employment as a Detective, the Plaintiff has become an
outspoken and public critic of the Defendants, Mayor Joseph Curtatone, Chief David
Fallon and Captain Bernard Cotter.

At various points in his career with the Somerville Police Department, the Plaintiff
became personally aware of this either illegal, or at a minimum, unethical conduct on the
part of the Defendant Curtatone as well as members of the Department that involved
promotions made by the Defendant Curtatone based upon political favor.

Additionally, the Plaintiff also publicly spoke of the Defendants’ failure to discipline
members of the Department whose conduct was either illegal or at a minimum unethical
and in clear violation of Department Rules and Regulations.

This illegal conduct included actions on the part of members of the Department who were
either related to and/or political supporters or friends of the Defendant Curtatone.
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On October 30th, 2017 the Plaintiff delivered a letter to Mayor Curtatone, complaining
about the issues of corruption within the Somerville Police Department.

On November 27, 2017 the Plaintiff delivered correspondence to Mayor Curtatone
regarding issues of what he reasonably believed to involve public corruption.

On December 7, 2017, the Plaintiff delivered correspondence to the Public Corruption
Unit of the Massachusetts Attorney General’s Office stating his reasonable belief that the
Defendants had engaged in issues of public corruption.

Prior to his correspondence to the Public Corruption Division, the Plaintiff had both
verbally, and in writing, stated similar allegations of what he reasonably believed to be
corruption and unethical political favoritism on the part of the Defendants Curtatone and
Fallon.

The Plaintiff's actions, speech and allegations embarrassed the Defendants and cast the
Plaintiff in a negative light with both Defendants, who sought to retaliate against the
Plaintiff for speaking out publicly on these issues.

The Defendants’ retaliatory animus resulted in an investigation of the Plaintiff for an
incident involving one of Plaintiff's “street sources,” Jonathan Machado.

On September 26, 2016, then Captain Michael Cabral received a call from Nicole Allain
from the Middlesex County District Attorney’s Office (“MDAO”) regarding text
messages between the Plaintiff and Jonathan Machado obtained from Machado’s cell
phone.

Captain Cabral met with Ms. Allain and Trooper Kevin Hart, who advised Cabral about
the content of text messages he had read between the Plaintiff and Jonathan Machado.

On September 29, 2016, Captain Cabral subsequently met with the Plaintiff and advised
him he would be put on paid administrative leave and that he (Cpt. Cabral) would be
conducting an investigation of the matter with a set of written questions.

Captain Cabral initially prepared a set of written questions to be submitted to the Plaintiff
at the direction of Chief Fallon and shared them with Ms. Allain, the Chief and two
Deputy Chiefs.

However, Captain Cabral was later told the questions he had prepared would not be used
because the “MDAO” was going to conduct their own investigation.

On September 29, 2016, the Defendants placed the Plaintiff on administrative leave from
his position as Detective with the Somerville Police Department pending the outcome of
the MDAO’s investigation. ,
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62. However, as stated more fully below, the Defendants never investigated the matter or

interviewed percipient witnesses regarding how the assault upon Mr. Alvarez had
occurred.

63. During the six months between September 2016 to March 2017, no record exists or has

been produced as to what, if any, “investigation” was ever conducted by the MDAO or
the Defendants.

64. To this date, the Defendants have produced no evidence as to what the MDAO did to
“investigate” the Plaintiff.

65. Significantly, the MDAO never charged the Plaintiff with any criminal offense and
subsequently forwarded the matter to the Attorney General’s Office for their review
based upon a purported conflict of interest.

66. The Attorney General’s office also declined to charge the Plaintiff with any criminal
offense. ,

67. On March 17, 2017, the MDAO sent a so-called “Brady Letter” via email to Deputy Paul
Trant at the Somerville Police Department.

68. The MDAO Brady Letter stated as follows:

Now comes the Commonwealth pursuant to Mass. R. Crim. P. 14 and hereby notifies the
defendant of potentially exculpatory information. During the course of an investigation
into a home invasion, we learned the following facts. On February 28, 2015, Somerville
Police Detective Dante DiFronzo spoke with a confidential informant ("CI"). The CI told
Detective DiFronzo that an individual ("the Individual") had recently stolen marijuana
from him. Detective DiFronzo knew that the CI had a violent criminal past and that the
CI was looking for the Individual. The CI told Detective DiFronzo that he intended to
harm the Individual. Detective DiFronzo, with this knowledge, actively assisted the CI in
locating the Individual by providing information to the CI regarding the Individual's
whereabouts. After receiving this information from Detective DiFronzo, the CI
participated in a home invasion on March 2, 2015, in which the Individual was stabbed
multiple times with a machete requiring hospitalization and surgeries.

69. Both the MDAO’s Brady letter and Defendant Cotter’s report imply that the Plaintiff
provided Jonathan Machado with Mr. Landaverde’s residential address on Alston Street,
Somerville and that Machado then went directly to that address and participated in a
home invasion and subsequently assaulted Alvarez.

70. Had the Defendants performed an objective investigation they would have determined
that nothing could be further from the truth. Defendant Cotter never attempted to
interview victims Henry Alvarez and/or Raul Landaverde prior to reaching his
conclusions that the Defendants used to form the basis for the Plaintiff's termination.
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Had Defendant Cotter interviewed either party or witness to these events he would have
determined that on the date of this assault, Jonathan Machado and his accomplice
observed Henry Alvarez walking on Highland Avenue, Somerville in the area of the
Somerville Public Library.

When Mr. Alvarez was subsequently interviewed by Somerville Detective Pulli, Mr.
Alvarez stated that he was walking in the area of the Somerville Public Library,
approximately .4 miles from his friend, Raul Landaverde’s residence located at 11 Alston
Street.

Similar to Mr. Alvarez and Mr. Landaverde, neither Mr. Machado nor his accomplice in
the assault/home invasion on Alverez/Landaverde were ever interviewed by Defendant
Cotter.

Had Defendant Cotter done so, Mr. Machado would have informed him that on the date
of this incident (March 2, 2015), Machado was living with his girlfriend at 9 Greenville
Street, Somerville, approximately one block from the Somerville Public Library.

If he had interviewed any witnesses, Defendant Cotter would have learned that Mr.
Machado’s encounter with Mr. Alvarez near the Public Library’s location was not
planned and did not occur as a result of any information provided to him by the Plaintiff.

Prior to the Grand Jury proceedings for this incident, Mr. Alvarez and Mr. Landaverde
stated to Detective Pulli and ADA Dan Herron, during separate interviews, that Mr.
Alvarez was in the area of the Somerville Library on Highland Avenue attempting to
access the free WIFI available from the library when he observed two unknown males
(Mr. Machado and his accomplice) walking toward him on the opposite side of Highland
Avenue.

Mr. Alvarez stated that the two unknown males then crossed Highland Avenue and
started coming toward him. As they approached, Mr. Alvarez fled and began to run away
from the two unknown males toward McGrath Highway.

Neither Defendant Cotter nor the MDAO’s Brady letter indicate that Mr. Machado and
his accomplice first observed Mr. Alvarez walking on Highland Avenue in the area of the
public library and a short distance from where Machado was living with his girlfriend at
9 Greenville Street, Somerville.

Neither Defendant Cotter nor the MDAO Brady letter stated that Mr. Machado chased
Mr. Alvarez for nearly half a mile, across Route 28 to the eventual scene of the crime
located at 11 Alston Street, Somerville (Landaverde’s residence).

The McGrath Highway (Route 28) is a six-lane divided road and part of the route that
Mr. Alvarez traveled from the Public Library to Alston Street.
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Defendant Cotter’s “investigation” and subsequent testimony falsely created the scenario
that the Plaintiff deliberately gave Mr. Machado the residential address of Henry Alvarez
and that Machado then went directly to that location and attacked Mr. Alvarez.

Defendant Cotter’s flawed investigation was fully supported by Defendants Fallon and
Curtatone, despite the fact that other members of the Somerville Police Department
possessed clearly exculpatory information regarding the true basis for the encounter
between Mr. Machado and Mr. Alvarez near the Somerville Public Library.

Despite the issuance of the so-called Brady letter, the Plaintiff was subsequently
subpoenaed to testify as a witness and examined by an Assistant District Attorney from
the MDAO in the criminal matter of Commonwealth v. Ngumba.

The Plaintiff was not impeached or disqualified from providing his sworn testimony in
that matter by either the Commonwealth or defense counsel as a result of the MDAO’s
Brady letter or for any of the allegations identified in the Brady letter.

As a result of the Brady letter, the Plaintiff received correspondence from Chief Fallon on
May 31, 2017, notifying the Plaintiff that the City intended to terminate his employment
based solely upon the issuance of the Brady letter by the MDAO.

Both of the Defendants, Chief Fallon and Captain Cotter, have subsequently stated that

they did not know what policies or standards were applied to the MDAO’s issuance of
this Brady letter.

At the time of the notice of intention to terminate the Plaintiff on May 31, 2017, the
Somerville Police Department had at least five other active members of the Department

who has previously received the same so-called “Brady” letter for alleged inappropriate
conduct.

The Department has never sought to discipline, investigate. let alone terminate the
employment of those other five Somerville officers who had also received Brady letters
from the MDAO or other law enforcement agencies.

Upon receipt of the Brady letter, Defendant Chief Fallon handpicked Defendant Cotter,
who had recently been promoted to the rank of Captain to conduct an “independent”
investigation of the Plaintiff regarding the Brady Letter.

Although he was an experienced police officer, Defendant Cotter’s “investigation”
inexplicitly, did not consist of a single interview of any witness except for Detective
DiFronzo, who had to insist that he be interviewed.

The Plaintiff avers that Captain Cotter intentionally ignored exculpatory evidence and
potential sources of information, including known witnesses to the underlying incident
involving Jonathan Machado and Henry Alvarez.
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92. It should have been clear to Defendant Cotter, based upon the Plaintiff's texts with
Machado, that Detective DiFronzo was actively looking for Henry Alvarez and
simultaneously cultivating information about the crimes committed at 12 Kilby Street.

93. It is important to note that Henry Alvarez was subsequently charged by the Plaintiff and
pled guilty for the crime of breaking and entering that occurred on February 27, 2015 at
12 Kilby Street, Apartment #3. (See previous paragraphs 39-42)

94. Despite the obvious professional responsibilities associated with being a Detective, the
Defendants charged the Plaintiff with “improper associations” based upon his use of
Machado as a “street source.”

95. The Defendants presented no evidence whatsoever that Detective DiFronzo ever received
any form of quid pro quo or personal gain from twenty-year-old Jonathan Machado.

96. To the contrary, it was entirely through the efforts of the Plaintiff that Machado was
ultimately arrested and charged with the home invasion and assault upon Mr. Alvarez.

97. The Plaintiffs termination was publicly announced on May 8, 2018, as a result of the
written findings and conclusions issued by Hearing Officer Peter Berry, who was selected
solely by Mayor Curtatone without imput from the Plaintiff or his union attorney.

98. The Defendants, Mayor Curtatone and Chief Fallon, took the opportunity of the
Plaintiffs termination to release their personal invective toward the Plaintiff by providing
the Boston Globe and other media sources with written statements and quotes designed to
hold the Plaintiff up to scorn and ridicule in his community and among family and
friends.

99. The Defendant Mayor Curtatone was fully aware that the Plaintiff had previously voiced
his concerns, on numerous occasions, regarding the promotion of Somerville Police
Officers with prior criminal as well as disciplinary histories, including Defendant
Curtatone’s first cousin, former Somerville Police Officer Alex Capobianco.

100. Officer Capobianco had been previously fired from the department in 2003 by
former Mayor Dorothy Gay over drug allegations but was reinstated upon the election of
Defendant Mayor Curtatone.

101. Capobianco was subsequently placed on paid leave from the Somerville Police
Department for more than a year over allegations of illegal drug possession a and passing
counterfeit bills before retiring in 2017.

102. The failure of the Defendants Mayor Curtatone and Chief Fallon to investigate
Capobianco’s conduct and his subsequent retirement were the subject of public issues
raised by the Plaintiff.
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103. The Plaintiff specifically requested, on several occasions, that an investigation be

conducted by an outside agency of Alex Capobianco and Defendant Mayor Curtatone’s
relationship.

104. The Plaintiff also publicly complained about the Defendants’ ongoing practice of
promoting members of the Department who had previously identified issues of
untruthfulness and serious disciplinary history, including Somerville Sgt. Kiely.

105. Sgt. Kiely had been issued a Brady letter by the MDAO in 2006.

106. The Plaintiff's protected actions resulted in the City of Somerville Board of
Aldermen’s refusal to approve Sgt. Michael Kiely’s promotion to the rank of Lieutenant.

107. The disparity of treatment between the Plaintiff and those politically connected
officers was further demonstrated when the Defendants wrongfully terminated the
Plaintiff for allegedly violating his use of a “street source” to solve a felony home
invasion committed by Jonathan Machado.

108. At the Appointing Authority hearing the City called Captain Cabral, Defendants
Cotter and Chief Fallon. The City did not call Trooper Kevin Hart at either the local
hearing or the Arbitration hearing, nor did Captain Cotter interview Trooper Hart. The
City did not call ADA Nicole Allain, nor did Captain Cotter interview Ms. Allain.

109. As stated, Defendant Curtatone terminated the Plaintiff's employment in a public
manner by releasing highly negative and inflammatory false information to the Boston
Globe and other media sources.

110. Defendants Curtatone and Fallon have both deliberately caused the Plaintiff
incredible embarrassment and humiliation before his peers, family and coworkers, all of
whom have read and/or been privy to the reckless and palpably false public comments
made by the Defendants.

111. Specifically, Defendant Joseph Curtatone, on May 8, 2018, sent a news release to
the media that resulted in the following headline being published on the front page of the
Boston Globe.

“Detective Accused of Helping Drug Dealer No Longer Part Of SPD.”

112. The above headline was based upon a news release Defendant Curtatone
provided to the media about the Plaintiff's termination, in which Mayor Curtatone was
quoted in the Boston Globe article as stating the following:

“The residents of Somerville must have confidence that the sworn men and
women of the Somerville Police Department will not only protect public safety
but also discharge their duties with the utmost integrity,” Curtatone said in a
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statement. “As mayor, | have a duty to maintain that excellence by holding
accountable officers who violate the department’s standards of conduct.”

113. The Plaintiff alleges that the means and manner of the release of this information
and false statements by Defendant Curtatone was done purposely, and with the specific
intent to cause the Plaintiff emotional distress, which he has continued to endure since his
wrongful termination.

114, The Plaintiff further alleges that the false and defamatory public statements made
by Defendant Curtatone to the Boston Globe and other media outlets were retaliatory and
done with the specific purpose of inflicting emotional harm on the Plaintiff and his family
in retaliation for the Plaintiff's request of an investigation into the illegal promotions and
favored treatment of persons who were politically connected to Mayor Curtatone.

115. On April 30, 2018, in a second Boston Globe article, Defendant Chief David
Fallon was attributed the following statement,

“But city Police Chief David R. Fallon said DiFronzo’s actions were tantamount to a
crime and he should be fired, according to transcripts of a disciplinary hearing earlier
this month.”

116. In the same article, Defendant Curtatone said, “DiFronzo’s lawyers used the
prosecutors’ absence to try to weaken the case to the hearing officer, who is an attorney
appointed by the Mayor to determine whether DiFronzo should be fired.”

117. By his statements, Defendant Chief Fallon falsely and maliciously accused the
Plaintiff of committing a crime, which he knew to be untrue. Fallon stated:

“Fallon said at the hearing he believed DiFronzo’s actions amounted to acting as
an accessory to a crime.”

118. The Plaintiff did not commit, nor was he ever charged with any criminal offense.
It is important to note that both the MDAO and the AGO had the ability to prosecute the
Plaintiff, if he had in fact committed a crime. They did not do so.

119. Likewise, the Defendant Chief Fallon, as an experienced police officer, had the
authority, if not the obligation, to initiate criminal charges against the Plaintiff if he truly
believed probable cause existed to do so.

120. Defendant Chief Fallon also used the media exposure to exploit a false narrative
that the Plaintiff had actively encouraged a “street source” to assault a drug dealer.

121. The Plaintiff's reputation within the City of Somerville and the law enforcement
community at large, prior to his termination, had been impeccable. The Plaintiff had been
awarded the Somerville Police Officer of the Year on two separate occasions.
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122. The Defendants, Fallon and Curtatone, by their actions and speech, deliberately
and maliciously, falsely accused the Plaintiff of criminal conduct, holding the Plaintiff up
to ridicule and scorn within the Somerville and law enforcement communities at large,
and effectively preventing him from obtaining employment as a law enforcement officer.

123. The Plaintiff appealed his wrongful termination under the terms of the Somerville
Police Union’s collective bargaining agreement with the City.

124. The Plaintiff avers that the Defendants wrongfully terminated the Plaintiff's
employment for his alleged wrongful conduct that was actually consistent with
longstanding standard operating procedure within the Somerville Police Department.

125. The Plaintiff's supervisors, Defendants Chief Fallon and Captain Cotter, were
fully aware of the complex relationship that existed between members of the Detective
Bureau and their “street sources.” None of the Plaintiff's supervisors had ever questioned
or overruled any actions taken by the Plaintiff.

126. The Plaintiff further alleges that the Defendants deliberately ignored and failed to
otherwise investigate additional exculpatory evidence that was brought to their attention
by the Plaintiff and his Union attorney before and during the proceedings of his
termination hearing.

127. A small sampling of the Defendants failures to investigate or present evidence
from material witnesses includes, but is not limited to, the following: Failure to interview
any percipient witnesses; failure to include and deliberately ignoring exculpatory
evidence; deliberately excluding portions of the Plaintiff's text communications; falsely
testifying during both the Appointing Authority and Arbitration hearings.

128. The Plaintiff alleges that this exculpatory information provided to the Defendants
would have further exonerated the Plaintiff and voided his termination, had the
Defendants chosen to objectively investigate it further.

129. The Plaintiffs termination was not only done without just cause, but also without
the benefit of Due Process.

130. The Plaintiff's wrongful termination became a significant media event in which
Detective DiFronzo was cast in the light of a rogue police Detective that was financially
benefitting from his relationship with a “street source.” The damage done to the
Plaintiff's reputation by his wrongful termination and media exploitation by the
Defendants continues to this day.

131. Since his termination, the Plaintiff has suffered ongoing public criticism and
ridicule that has caused both him and his family extreme emotional distress.
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132. Since his wrongful termination, the Plaintiff has also been unable to secure full
time employment in his chosen field of law enforcement. The Plaintiff remains
unemployable as a result of the stigma of his wrongful termination by the Defendants.

133. It is important to note that several of the Plaintiff's previous supervisors who
knew him and who were familiar with the Department’s use of “street sources” have
testified during the Arbitration hearing that the Plaintiff should never have been fired and
was a valuable asset to the Somerville Police Department.

134. The Somerville Police Union contract provides, in part, that all disputes, claims
or questions pertaining to the interpretation of the contract or the performance by either
party of its obligations thereunder shall be submitted to arbitration in accordance with
provisions then obtaining of the American Arbitration Association, and the agreement
shall be specifically enforceable under the prevailing arbitration law, and judgment upon
the award entered may be entered in the court or forum, state or federal, having
jurisdiction.

135. The arbitration of the Plaintiff's termination was overseen by the American
Arbitration Association and an arbitrator was appointed.

136. The Arbitration of the Plaintiff’s termination was conducted over 15 days and the
Arbitrator’s decision is currently pending.

COUNT I

Federal Civil Rights Violation Pursuant to 42 U.S.C. Section 1983)
(Against Defendants Joseph Curtatone, Chief David Fallon and Captain Bernard Cotter)

137. The Plaintiff hereby restates and incorporates by reference all of the previous
allegations made in the above stated paragraphs in this complaint.

138. In relation to the illegal and improper actions set forth above depriving
Plaintiff of his property and liberty interests without due process of law, which actions
were taken by Defendants acting under color of state law in depriving Plaintiff of his
rights under the First, Fifth and Fourteenth Amendments to the United States Constitution
not to be deprived of freedom of speech, and/or liberty or property interests without due
process of law.

139. By engaging in these improper actions contrary to Plaintiff's constitutional rights,
Defendants have violated 42 U.S.C. § 1983. The Defendants actions in violation of 42
U.S.C. §1983 set forth herein have caused injury to Plaintiff in the form of financial and
emotional distress damages.

WHEREFORE, Plaintiff demands that this Court enter Judgment in his favor and against
Defendants Joseph Curtatone, as well as the Defendants David Fallon and Bernard Cotter in an
Case 1:21-cv-10867-FDS Document9 Filed 06/14/21 Page 16 of 39

amount to be determined by this Court, including monies to compensate him for lost pay, lost

benefits, punitive damages, emotional pain and suffering, interest, costs, attorney's fees and such
other further relief that this Court deems just and proper.

COUNT II
IMPROPER INTERFERENCE WITH CONTRACTUAL RELATIONSHIP
v. ALL DEFENDANTS

140. The Plaintiff hereby restates and incorporates by reference all of the previous
allegations made in the above stated paragraphs in this complaint. ,

141. At all relevant times herein, Plaintiff had specific written and/or implied terms of
employment with the City of Somerville. The Defendants, collectively and separately,
have knowingly and/or wrongfully attempted to and did interfere with Plaintiff's
employment contract by denying him Due Process of law as a result of conducting a
flawed investigation, intentionally distorting, ignoring and/or withholding critical
exculpatory evidence beneficial to the Plaintiff. The Defendants’ interference with
Plaintiff's contractual relationship was wrongful and intentional and done through
improper motives and means so as to cause Plaintiff to sustain harm and damages as a
result of their actions. As a result of said actions, the Plaintiff has sustained significant
financial damages and suffered emotional distress.

WHEREFORE, Plaintiff demands judgment against all Defendants in an amount this Court
deems just and appropriate with interest, cost of this action including attorneys’ fees.

COUNT III
IMPROPER INTERFERENCE WITH ADVANTAGEOUS BUSINESS RELATIONSHIP
v. All Defendants

142. The Plaintiff hereby restates and incorporates by reference all of the previous
allegations made in the above stated paragraphs in this complaint.

143. At all relevant times herein, Plaintiff had specific written and/or implied terms of
employment with the City of Somerville. The Defendants knowingly and/or wrongfully
attempted to and did interfere with Plaintiff's employment contract. The Defendant’s
interference with Plaintiff's contractual relationship was wrongful and intentional and
done through improper motives and means so as to cause Plaintiff to sustain harm and
damages as a result of their actions. The Defendants knew of and failed to properly
investigate exculpatory evidence brought to their attention. As a result of said actions, the
Plaintiff has sustained significant damages as further described above.

WHEREFORE, Plaintiff demands judgment against all Defendants in an amount this
Court deems just and appropriate with interest, cost of this action including monies to
compensate him for lost pay, lost benefits, emotional pain and suffering, loss of reputation,
Case 1:21-cv-10867-FDS Document9 Filed 06/14/21 Page 17 of 39

interest, costs, attorney's fees, and such other and further relief that this Court deems just and
proper.

COUNT IV
INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS
v. All Defendants

144. The Plaintiff hereby restates and incorporates by reference all of the previous
allegations made in the above stated paragraphs in this complaint.

145. As evidenced and stated above, the conduct of the Defendants, including but not
limited to Defendants Joseph Curtatone and David Fallon toward the Plaintiff was
extreme in degree and outrageous in character, resulting in the intentional and reckless
infliction of emotional distress upon Plaintiff.

146. By their actions as stated above, the Defendants intended to inflict, and did inflict
emotional distress on Plaintiff or knew or should have known that emotional distress was
a likely result of their conduct.

147. Defendant’s conduct as alleged above was extreme and outrageous, beyond all
possible bounds of decency and was utterly intolerable.

148. The outrageous actions of the Defendants were the cause of Plaintiff's distress,
and the emotional distress sustained by the Plaintiff is of a nature that no reasonable
person could be expected to endure.

149. As a result of the outrageous actions of the Defendants, Plaintiff was caused to
suffer emotional injuries and damages.

WHEREFORE, Plaintiff demands judgment against all Defendants in an amount this Court
deems just and appropriate with interest, cost of this action including attorneys' fees.

COUNT V
WRONGFUL TERMINATION IN VIOLATION OF PUBLIC POLICY UNDER
MASSACHUSETTS LAW (TORT)
v. ALL DEFENDANTS

150. The Plaintiff hereby restates and incorporates by reference all of the previous
allegations made in the above stated paragraphs in this complaint.

151. At all relevant times, the Plaintiff had contractual employment rights, together
with the expectation of continued employment as a member of the Somerville Police
Department.

152. The Defendants, individually and collectively, wrongfully interfered with those
rights by terminating his employment in violation of public policy and with the intent of
Case 1:21-cv-10867-FDS Document9 Filed 06/14/21 Page 18 of 39

causing him personal harm and injury to his reputation and rights of continued
employment.

153. As a consequence, the Defendants have, as a matter of public policy, interfered
with and wrongfully terminated the Plaintiff's employment. Said termination was
wrongful and intentional and done through improper motives and means so as to cause

. Plaintiff to sustain harm and damages as a result of their actions.

154. The Defendants have continued to violate the Plaintiff's rights of continued
employment by publicly making false statements regarding the Plaintiff and holding him
up to ridicule and scorn within the community, and by failing and otherwise refusing to
reinstate him to the Plaintiff's position as a member of the Somerville Police Department.

As a result of said actions, the Plaintiff has sustained significant financial and emotional
damages as further described above.

WHEREFORE, Plaintiff demands judgment against all Defendants in an amount this Court
deems just and appropriate with interest, cost of this action including attorneys’ fees.

COUNT VI
NEGLIGENT INFLICTION OF EMOTIONAL DISTRESS BY DEFENDANTS
V. ALL DEFENDANTS

155. The Plaintiff hereby restates and incorporates by reference all of the previous
allegations made in the above stated paragraphs in this complaint.
156. The Defendants, by their actions stated above have negligently caused the

infliction of emotional distress upon the Plaintiff.

157. A reasonable and prudent person and/or entity in the same or similar
circumstances as Defendants would know or should have known that Plaintiffs emotional
distress was a foreseeable result of this extreme and outrageous conduct.

158. As a result of the above-described actions, Plaintiff has suffered substantial
damages, including lost salary and benefits, damage to his career and emotional distress.

COUNT VII
DEFAMATION AND SLANDER
V. DEFENDANT JOSEPH CURTATONE and DAVID FALLON

1. Plaintiff hereby incorporates each and every allegation in the preceding paragraphs of
this Complaint as if set forth in full herein.

2. Defendants published and/or otherwise communicated written and oral statements
concerning the Plaintiff that were defamatory per se and false causing the Plaintiff to suffer
emotional distress and economic loss and the Defendants acted with actual or reckless
disregard for the truth in publishing the statements about Plaintiff.

3. Asaresult of the defamatory statements made by the Defendants as stated above, the
Plaintiff was caused to suffer great emotional distress and economic losses and was forced to
- Case 1:21-cv-10867-FDS Document9 Filed 06/14/21 Page 19 of 39

defend himself against the defamatory comments which were made by the Defendants in
order to destroy his reputation and interfere with his employment and career as a police
officer.

4. WHEREFORE, plaintiff demands judgment against the Defendants, together with
interest and costs, punitive damages and attorney's fees.

THE PLAINTIFF HEREBY DEMANDS A TRIAL BY JURY ON ALL COUNTS.

WHEREFORE, the Plaintiff, Dante DiFronzo, respectfully requests that this Court:

1. Enter judgment in his favor on each Count of this Complaint:

2. Reinstate the Plaintiff to the same employment position which he previously held with the
Somerville Police Department:

3. Award the Plaintiff compensatory damages, including, but not limited to, loss of pay and
emotional distress damages:

4. Award the Plaintiff his costs and attorneys' fees:
5. Award the Plaintiff multiple and/or punitive damages; and
6. Award the Plaintiff such other relief as this Court deems just, equitable and appropriate.

Respectfully submitted,
For Dante DiFronzo
By his attorney,

LAW OFFICES OF TIMOTHY M. BURKE

/s/ Timothy M. Burke

Timothy M. Burke, Esq., BBO # 065720
117 Kendrick Street, Suite 300 |
Needham, MA 02494

(781) 455-0707

 

 

MIDDLESEX, ss. Commonwealth of Massachusetts
-, SUPERIOR COURT DEPARTMENT OF THE TRIAL COURT

In testimony that the foregoing is a true copy on file
and of record made by photographic process, I hereunto
set my hand and affix the seal of said Superior Court
this-Ninth day of June, 2021.

 

Deputy Assistant Clerk

 

 

 
Case 1:21-cv-10867-FDS Document 9: Filed. 06/14/21 Pagé 20 of 39°

 

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¢ MIDDLESEX COUNTY

Public Docket Report

2181CV00679 Difronzo, Dante A vs. City Of Somerville et al

 

CASE TYPE: Torts
ACTION CODE: B15
DESCRIPTION: Defamation
CASE DISPOSITION DATE:
CASE DISPOSITION:
CASE JUDGE:

Pending

FILE DATE:
CASE TRACK:

03/26/2021
F - Fast Track

CASE STATUS: Open
STATUS DATE: 03/26/2021
CASE SESSION: Civil H Rm 710

 

 

PARTIES

 

 

Plaintiff

Difronzo, Dante A

48 Teele Avenue
Somerville, MA 02144

Defendant

City Of Somerville

93 Highland Avenue
Somerville, MA 02143

Defendant

Cotter, IN His Individual And Official Capacity, Bernard
220 Washington Street

Somerville, MA 02143

Defendant

Curtatone, IN His Individual And Official Capacity,
Joseph

93 Highland Avenue

Somerville, MA 02143

Defendant

Fallon, IN His Individual And Official Capacity, David
220 Washington Street

Somerville, MA 02143

 

Attorney

Timothy Michael Burke

Law Offices of Timothy M Burke
Law Offices of Timothy M Burke
117 Kendrick St

Suite 300

Needham, MA 02494

Work Phone (781) 455-0707
Added Date: 03/26/2021

065720

 

 

 

Printed: 06/09/2021 8:58 am

Case No: 2181CV00679

Page: 1

 

 
CRTR2709-CR

 

Public Docket Report

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

FINANCIAL DETAILS
Date Fees/Fines/Costs/Charge Assessed Paid Dismissed Balance
03/26/2021 Civil Filing Fee (per Plaintiff) 240.00 240.00 0.00 0.00
03/26/2021 Civil Security Fee (G.L. c. 262, § 4A) 20.00 20.00 0.00 0.00
03/26/2021 Civil Surcharge (G.L. c. 262, § 4C) 15.00 15.00 0.00 0.00
04/28/2021 Fee for Blank Summons or Writ 20.00 20.00 0.00 0.00
(except Writ of Habeas Corpus) MGL
262 sec 4b
Total 295.00 295.00 0.00 0.00
INFORMATIONAL DOCKET ENTRIES
Date Ref Description Judge
03/26/2021 1. Complaint electronically filed.
03/26/2021 2 _ Civil action cover sheet filed.
03/26/2021 Case assigned to:
; So DCM Track F - Fast Track was added on 03/26/2021
03/26/2021 EDocument sent:
A Tracking Order was generated and sent to:
a — Plaintiff, Attorney: Timothy Michael Burke, Esq. attytmb@aol.com
05/19/2021 3 Service Returned for
Defendant Curtatone, IN His Individual And Official Capacity, Joseph: Service
made in hand;
7 5/11/2021. 93 HIGHLAND AVE FLOOR SOMERVILLE , MA 02143
05/19/2021 4 Service Returned for
Defendant City Of Somerville: Service made in hand;
5/11/2021. 93 HIGHLAND AVE 1ST FLOOR SOMERVILLE, MA 02143
05/24/2021 5 Service Returned for
Defendant Fallon, IN His Individual And Official Capacity, David: Service made
at last and usual;
at 59 Tyler Avenue Medford, MA 02155 on 05/18/2021.
05/28/2021 6 Service Returned for
Defendant Cotter, IN His Individual And Official Capacity, Bernard: Service
made at last and usual;
on 5/20/21, at 49 Riverside Drive, Reading, MA 01867
Printed: 06/09/2021 8:58 am Case No: 2181CV00679 Page: 2

 

 

MIDDLESEX, Ss.

Commonwealth of Massachusetts
SUPERIOR COURT DEPARTMENT OF THE TRIAL COURT

In testimony that the foregoing is a true copy on file

and of record made by photographic process, I hereunto
set my hand and affix the seal of said Superior Court

this Ninth day of June, 2021.
Z aD

L LeF
Deputy — Clerk

 

 

 

 

 
Case 1:21-cv-10867-FDS: Document 9 Filed'06/14/21 Page 23.0f 39°.

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DOCKET NUMBER Trial Court of Massachusetts .
CIVIL ACTION COVER SHEET NC) CU br 7 q Lb The Superior Court j
PLAINTIFF(S): Dante A. DiFronzo COUNTY
Middlesex
ADDRESS: 48 Teele Avenue, Somerville, MA 02144

 

 

 

DEFENDANT(S}: _ City of Somerville, et al.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

ATTORNEY: Timothy M. Burke, Esq.
ADDRESS: 117 Kendrick Street, Suite 300, Needham, MA 02494 ADDRESS: 93 Hightand Avenue, Somervile, MA 02143
BBO: . 065720
TYPE OF ACTION AND TRACK DESIGNATION (see reverse side)
CODE NO. TYPE OF ACTION (specify) TRACK HAS A JURY CLAIM BEEN MADE?
B15 Defamation A [x] YES ([] No
*tf “Other please describe:

 

 

 

STATEMENT OF DAMAGES PURSUANT TO G.L. c. 212, § 3A

The following is a full, itemized and detailed statement of the facts on which the undersigned plaintiff or plaintiff counsel reties to determine money damages. For
this form, disregard double or treble damage claims; indicate single damages cnly.

TORT CLAIMS
(attach additional sheets as necessary)

A. Documented medical expenses to date:
1. Totat hospital expenses
2. Total doctor Expenses ...........sssesceccsesessssssecssnenstensensasssssascensssseserensssevancorsaansessssseeenenettansencnecerseassentaaseneeeeites
3. Total chiropractic Expenses .......cc-ceereesseeerrerseeees

4. Total physical therapy expenses IDG ID DA vvreccreraccecsrssscssccsssscsececccsesescocersssesssestassesseasecasonase
5. Total other expenses (describe below) ... ecient

RECEIVED
B. Documented lost wages and compensation to date ,
C. Documented property damages to dated ..........s.scssccssessssesseorsecessseenessnssssessssnenssssssanasenvennscessnuessanecanasensncnareassensens
D. Reasonably anticipated future medical and hospital expenses
E. Reasonably anticipated fost wages
F. Other documented items of damages (describe below) .....

Emotional distress
G. Briefly describe plaintiff's injury, including the nature and extent of injury:

 

 

 

 

 

 

 

 

 

 

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TOTAL (A-F):$ 1,250,000.00

CONTRACT CLAIMS
(attach additional sheets as necessary)

Provide a detailed description of claims(s):

TOTAL: $
Signature of Attomney/Pro Se Plaintifi=x—_/ A Date: Mar 26, 2021

RELATED ACTIONS: Please provide the case himber case name, and county of any related actions pending in the Superior Court.

   

 

 

CERTIFICATION PURSUANT TO SJC RULE 1:18

   
   

 

 

 

| hereby certify that | have complied with requirements of te 5 of t dicial Court Uniform Rules on Dispute Resolution (SJC

Rule 1:18) requiring that | provide my clients’ with information abo: pd dispute resolution services and discuss with them the

advantages and disadvantages of the yarious/methods gf dispyfe re

Signature of Attorney of Record: .. Date: Mar 26, 2021
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Case 1:21-cv-10867-FDS Document9 Filed 06/14/21 Page 25 of 39

FILED IN THE OFFICE OF THE

F COURTS
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MAY 19 2021
aon wealth of Massachusetts
CLERK
MIDDLESEX,SS. TRIAL COURT OF THE COMMONWEALTH

SUPERIOR COURT DEPARTMENT
CIVIL DOCKET NO, 2! 21cvc007%

Doik A Dt 20 , PLAINTIFF(S),

Vv.
Gty of Servi 2f uw. , DEFENDANT(S)

 

SUMMONS
Mayon Jogen Cur tetted [rn bys
THIS SUMMONS IS DIRECTED TO j oky d cf 1 Gyx:ci'y (Defendant's name)

     

You are being sued. The: Plaintiff(s) named above has started a lawsuit against you. A copy of the
Plaintiff's Complaint filed against you is attached to this summons and the original complaint has been
filed in the Micdies<ex j “ Court. YOU MUST ACT PROMPTLY TO PROTECT YOUR RIGHTS.

 

You must respond to this lawsuit in writing within 20 days. If you do not respond, the court may decide

the case against you and award the Plaintiff everything asked for in the complaint. You will also lose the

opportunity to tell your side of the story. You must respond to this lawsuit in writing even if you expect

to resolve this matter with the Plaintiff. If you need more time to respond, you may request an

extension of time in writing from the Court.

How to Respond. To respond to this lawsuit, you must file a written response with the court and mail a

copy to the Plaintiff's Attorney (or the Plaintiff, if unrepresented). You can do this by: —_

Filing your signed original response with the Clerk's Office for Civil Business, 4. cldies<t Court, 200 Traore Comer

 

Webduiin Mit Ot1SO. (address), by mail or in person, AND

b.

Delivering or mailing a copy of your response to the Plaintiff's Attorney/Plaintiff at the following

address: 7 feavisck St Ste 360 Vendo) WG eeu}

What to include in your response. An “Answer” is one type of response to a Complaint. Your Answer
must state whether you agree or disagree with the fact(s) alleged in each paragraph of the Complaint.
Some defenses, called affirmative defenses, must be stated in your Answer or you may lose your right to
use them in court. If you have any claims against the Plaintiff (referred to as counterclaims) that are
based on the same facts or transaction described in the Complaint, then you must include those claims
in your Answer. Otherwise, you may lose your right to sue the Plaintiff about anything related to this
lawsuit. If you want to have your case heard by a jury, you must specifically request a jury trial in your
Answer or in a written demand for a jury trial that you must send to the other side and file with the

court no more than 10 days after sending your Answer. You can also respond to a Complaint by filing a
“Motion to Dismiss,” if you believe that the complaint is legally invalid or legally insufficient. A Motion
to Dismiss must be based on one of the legal deficiencies or reasons listed under Mass. R. Civ. P. 12. If
you are filing a Motion to Dismiss, you must also comply with the filing procedures for “Civil Motions”
described in the rules of the Court in which the complaint was filed, available at
www.mass.gov.courts/case-legal-res/rules of court.

 
Case 1:21-cv-10867-FDS Document9 Filed 06/14/21 Page 26 of 39

 

4. Legal Assistance. You may wish to get legal help from a lawyer. If you cannot get legal help, some basic
information for people who represent themselves is available at www.mass.gov/courts/selfhelp.
5. Required information on all filings: The “civil docket number’ appearing at the top of this notice is the

case number assigned to this case and must appear on the front of your Answer or Motion to Dismiss.
You should refer to yourself as the “Defendant.”

Witness Hon. Judith Fabricant, Chief Justice on_Maiy 3, 202-1.

Mise A. Suffivan
Clerk-Magistrate

   

Jus Middlesex Sheriff's Office « 400 Mystic Ave, 3 Floor, Medford, MA 02155 e 617-547-1171
RA Middlesex, ss.

May 12, 2021
| hereby certify and return that on 5/11/2021 at 9:10 AM I served a true and attested copy of the SUMMONS, COMPLAINT, CIVIL
ACTION COVER SHEET, TRACKING ORDER in this action in the following manner: To wit, by delivering in hand to Andrea

Revilla, agent, person in charge at the time of service for MAYOR JOSEPH CURTATONE, IN HIS INDIVIDUAL AND OFFICIAL
CAPACITY, at CIT OF SOMERVILLE 93 HIGHLAND AVENUE SOMERVILLE, MA 02143 . Fees: Attest ($5.00) Basic Service Fee

($30.00) Postage and Handling ($3.00) Travel ($1.92) Total: $39.92 ;
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Deputy Sheriff

N.B. TO PROCESS SERVER:

PLEASE ENTER THE DATE THAT YOU MADE SERVICE ON THE DEFENDANT IN THIS BOX - BOTH
ON THE ORIGINAL SUMMONS AND ON THE COPY OF THE SUMMONS SERVED ON THE DEFENDANT.

 

 

 

 

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Case 1:21-cv-10867-FDS Document9 Filed 06/14/21 Page 27 of 39

FOR THE GOUNTY OF MIDDLESEX 4
MAY 19 2021
bE <@id~> Commonwealth of Massachusetts
MIDDLESEX.SS. TRIAL COURT OF THE COMMONWEALTH

SUPERIOR COURT DEPARTMENT
CIVIL DOCKET NO. 2151 CvoO0 G79

Dart AD 5e420 _, PLAINTIFF(S),

V.
city of Somerville etul., DEFENDANT(S)

 

SUMMONS
THIS SUMMONS IS DIRECTED TO Cty cK Somer vil . (Defendant's name)

You are being sued. The Plaintiff(s) named above has started a lawsuit against you. A copy of the
Plaintiff's Complaint filed against you is attached to this summons and the original complaint has been
filed in the _M pyre Court. YOU MUST ACT PROMPTLY TO PROTECT YOUR RIGHTS.

   
 

You must respond to this lawsuit in writing within 20 days. If you do not respond, the court may decide

the case against you and award the Plaintiff everything asked for in the complaint. You will also lose the

opportunity to tell your side of the story. You must respond to this lawsuit in writing even if you expect

to resolve this matter with the Plaintiff. If you need more time to respond, you may request an

extension of time in writing from the Court.

How to Respond. To respond to this lawsuit, you must file a written response with the court and mail a

copy to the Plaintiff's Attorney (or the Plaintiff, if unrepresented). You can do this by: a

Filing your signed original response with the Clerk’s Office for Civil Business, +) 4aie5cx Court, 2° Trees ¢ ater

Wotcn MA Ob | (address), by mail or in person, AND

b.

Delivering or mailing a copy of your response to the Plaintiff's Attorney/Plaintiff at the following

address: i177 bet yey eo SY See Gar Ned MA C2 pe

What to include in your response. An “Answer” is one type of response to a Complaint. Your Answer
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Case 1:21-cv-10867-FDS Document9 Filed 06/14/21 Page 28 of 39

' Legal Assistance. You may wish to get legal help from a lawyer. If you cannot get legal help, some basic
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Required information on all filings: The “civil docket number” appearing at the top of this notice is the

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You should refer to yourself as the “Defendant.”

Witness Hon. Judith Fabricant, Chief Justice on_—_Mcaag_—3 __ ,2021 .

Misia A. Suffivan
Clerk-Magistrate

Middlesex Sheriff’s Office « 400 Mystic Ave, 3 Floor, Medford, MA 02155 ¢ 617-547-1171
Middlesex, ss.

May 12, 2021

| hereby certify and return that on 5/11/2021 at 9:10 AM I served a true and attested copy of the SUMMONS, COMPLAINT, CIVIL
ACTION COVER SHEET, TRACKING ORDER in this action in the following manner: To wit, by delivering in hand to Andrea
Revilla, agent, person in charge at the time of service for CITY OF SOMERVILLE, at JOHN J. LONG, CITY CLERK 93
HIGHLAND AVENUE 1ST FLOOR SOMERVILLE, MA 02143 . Fees: Attest ($5.00) Basic Service Fee ($30.00) Postage and
Handling ($3.00) Travel ($1.92) Conveyance ($0.90) Total: $40.82

 

Deputy Sheriff

N.B. TO PROCESS SERVER:

PLEASE ENTER THE DATE THAT YOU MADE SERVICE ON THE DEFENDANT IN THIS BOX - BOTH
ON THE ORIGINAL SUMMONS AND ON THE COPY OF THE SUMMONS SERVED ON THE DEFENDANT.

 

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Case 1:21-cv-10867-FDS Document9 Filed 06/14/21 Page 29 of 39

  

 

 

 

 

Commonwealth of Massachusetts

MIDDLESEX,SS.

SUPERIOR COURT DEPARTMENT

CIVIL DOCKET NO. 213/CVvOQG 7%

Donk A Py Frr20 , PLAINTIFF(S),
Vv.
aty Le Semele et xt, DEFENDANT(S)
SUMMONS
CHiet eel Seadlca, ba ins bdr weucd

THIS SUMMONS IS DIRECTED TO _ gape? Offi ciel Cope, okt . . (Defendant's name)

You are being sued. The Plaintiff(s) named above has started a lawsuit against you. A copy of the
Plaintiffs Complaint filed against you is attached to this summons and the original complaint has been
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Filing your signed original response with the Clerk's Office for Civil Business, 4.2die9¢¢ Court, 200 Trade Center

Wouw a UA ciSCi_ (address), by mail or in person, AND

b.

Delivering or mailing a copy of your response to the Plaintiff's Attorney/Plaintiff at the following

address: |\7 kevctick Sob, Ste 2o Necd heyy, MA O24RY

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must state whether you agree or disagree with the fact(s) alleged in each paragraph of the Complaint.
Some defenses, called affirmative defenses, must be stated in your Answer or you may lose your right to
use them in court. If you have any claims against the Plaintiff (referred to as counterclaims) that are
based on the same facts or transaction described in the Complaint, then you must include those claims
in your Answer. Otherwise, you may lose your right to sue the Plaintiff about anything related to this
lawsuit. If you want to have your case heard by a jury, you must specifically request a jury trial in your
Answer or in a written demand for a jury trial that you must send to the other side and file with the

court no more than 10 days after sending your Answer. You can also respond to a Complaint by filing a
“Motion to Dismiss,” if you believe that the complaint is legally invalid or legally insufficient. A Motion
to Dismiss must be based on one of the legal deficiencies or reasons listed under Mass. R. Civ. P. 12. If
you are filing a Motion to Dismiss, you must also comply with the filing procedures for “Civil Motions”
described in the rules of the Court in which the complaint was filed, available at
www.mass.gov.courts/case-legal-res/rules of court.

 
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=~
4. Legal Assistance. You may wish to get legal help from a lawyer. If you cannot get legal help, some basic
information for people who represent themselves is available at www.mass.gov/courts/selfhelp.
5. Required information on all filings: The “civil docket number” appearing at the top of this notice is the

case number assigned to this case and must appear on the front of your Answer or Motion to Dismiss.
You should refer to yourself as the “Defendant.”

Witness Hon. Judith Fabricant, Chief Justice on__Mey 9 ,202+ ,

Migr A. Seffivan
Clerk-Magistrate

Note: The number assigned to the Complaint by the Clerk-Magistrate at the beginning of the lawsuit should be indicated on the
summons before it is served on the Defendant.

PROOF OF SERVICE OF PROCESS

Middlesex Sheriff’s Office ¢ 400 Mystic Ave,

3 Floor, Medford, MA 02155 e 617-547-1171
Middlesex, ss.

 

y
| hereby certify and return that on 5/18/2021 at 11:29 AM | served a true and attested co of the SUMMONS, C
CIVIL ACTION COVER SHEET, TRACKING in thi i ied ng at the rast ww

i : it, leaving at the last and
usual place of abode of CHIEF DAVID FALLON, IN HIS INDIVIDAL AND OFFICIAL CAPACITY, 59 nl

 

TYLER AVENUE MEDFORD,
mA rn 35 me Attest ($5.00) Basic Service Fee ($20.00) Postage and Handling ($3.00) Travel ($1.92) Conveyance ($0.90)
otal: .
Deputy Sheriff
, 20

 
Case 1:21-cv-10867-FDS Document9 Filed 06/14/21 Page 31 of 39

 

 

“a”?
LAW OFFICES OF TIMOTHY M. BURKE
BURKE LAW
117 Kendrick Street, Suite 300
Needham, Massachusetts 02494
(781) 455-0707 pe
vel pet OrRice uF Tere |
Timothy M. Burke | nonie a BF count ZSEX
Jordan E. Burke
Jared S. Burke MAY 24 2021
May 21, 2021
wa tt ee the ag
Middlesex Superior Court | eat
Civil Clerk’s Office
200 Trade Center
Woburn, MA 01801

Re: Dante DiFronzo. City of Somerville, et al,
Civil Action No.: 2181CV00679

Dear Sir/Madam,
Enclosed please find for filing a proof of service, with regard to the above referenced
matter.
Thank you for your attention to this matter.
Very Truly Yours,
Teh, YA
/ wat f A
Timothy M. Burke
/jam

Encl.
Case 1:21-cv-10867-FDS Document9 Filed 06/14/21 Page 32 of 39

 

CIVIL TRACKING ORDER
(STANDING ORDER 1- 88)

 

DOCKET NUMBER

2181CV00679 LL

Trial Court of Massachusetts

 

The Superior Court

 

CASE NAME:
Difronzo, Dante A vs. City Of Somerville et al

4 7

Michael A. Sullivan, Clerk of Court
Middlesex County

 

TO: File Copy

COURT NAME & ADDRESS
Middlesex County Superior Court - Woburn
200 Trade Center
Woburn, MA 01801

 

 

than the deadlines indicated.

TRACKING ORDER - F - Fast Track
You are hereby notified that this case is on the track referenced above as per Superior Court Standing
Order 1-88. The order requires that the various stages of litigation described below must be completed not later

 

 

 

 

 

 

 

     

    

TAGES OF LITIGATION DEADLINE
SERVED BY FILED BY HEARD BY
Service of process made and return filed with the Court 06/24/2021
Response to the complaint filed (also see MRCP 12) 07/26/2021
All motions under MRCP 12, 19, and 20 07/26/2021 08/23/2021 09/22/2021
All motions under MRCP 15 07/26/2021 08/23/2021 09/22/2021

 

 

   

 

 

depositions completed

All discovery requests and depositions served and non-expert

 
  

01/20/2022

 

 

 

All motions under MRCP 56

02/21/2022 03/21/2022

 

 

Final pre-trial conference held and/or firm trial date set

   

  

07/19/2022

 

 

 

Case shall be resolved and judgment shall issue by

 

 

03/27/2023

 

The final pre-trial deadline is not th

This case is assigned to

hedul

Counsel for plaintiff must serve this tracking order on defendant before the deadline for filing return of service.

nference. You will be notified of that date at a later time.

 

DATE ISSUED ASSISTANT CLERK

03/26/2021 Dia S Roberts-Tyler

 

PHONE
(781)939-2745

 

 

Date/Time Printed: 03-26-2021 14:04:04

SCV026\ 08/2018

 
Case 1:21-cv-10867-FDS Document9 Filed 06/14/21 Page 33 of 39

LAW OFFICES OF TIMOTHY M. BURKE

BURKE LAW
117 Kendrick Street, Suite 300
Needham, Massachusetts 02494

(781) 455-0707
Timothy M. Burke
Jordan E. Burke EFICE OF THE
Jared S. Burke FILED INTHE COURTS

May 14, 2021 FOR THE COUNTY OF MIDDLESEX

Middlesex Superior Court MAY 19 2021
Civil Clerk’s Office a |
200 Trade Center Poe L& SEO
Woburn, MA 01801 ~ CLERK

Re: Dante DiFronzo . City of Somerville, et al.
Civil Action No.: 2181CV00679

Dear Sir/Madam,

Enclosed please find for filing two (2) proofs of service, with regard to the above
referenced matter.

Thank you for your attention to this matter.
Very Truly Yours,

Timothy M. Burke

/jam
Encl.
 

 

 

 
Case 1:21-cv-10867-FDS Document9 Filed 06/14/21 Page 35 of 39

Brody, Hardoon, Perkins & Kesten, LLP

Attorneys at Law

Richard E. Brody 699 Boylston Street Erica L. Brody
Laurence E. Hardoon Boston, Massachusetts 02116 Allison L. O’Connell
cee Telephone 617 880 7100 Facsimile 617 880 7171 OF COUNSEL
Jocelyn M. Sedney Hon. Paul A. Chernoff (Ret.)
Jeremy I. Silverfine www.bhpKlaw.com Deidre Brennan Regan

Andrew A. Rainer
Naomi R. Stonberg

Thomas R. Donohue
Gregor A. Pagnini
Evan C. Ouellette
Michael Stefanilo, Jr.

 

May 26, 2021

VIA FEDERAL EXPRESS: 8166 9960 5012

oe THE Grice oF THE
Civil Clerk’s Office FOR THE COUNTY OF MaDe cEX
Middlesex Superior Court
200 Trade Center MAY 27 2021
Woburn, MA 01801
Re: — Dante A. Difronzo v. City Of Somerville et al x one

 

 

 

Docket No. 2181CV00679
Dear Sir/Madam:

Enclosed please find the following for docketing and filing with reference to the above-
referenced matter:

sen Written Notice of Removal to Federal Court Pursuant to 28 U.S.C. §1446(D); and

Z. A certified copy of the Notice of Removal of Action from State Court filed with
the Federal Court.

Kindly forward certified copies of the documents on file with the Superior Court and a
certified copy of the docket sheet to my attention as soon as possible. If there is a charge for this
request, please contact my assistant, Eryn Ryan.

Thank you for your attention and cooperation in this matter. If you have any questions,
please contact me.

Very truly yours,

af huw[ jt+ fe

Michael Stefanilo, Jr.
MS/emr
Enclosures
-

Case 1:21-cv-10867-FDS Document9 Filed 06/14/21 Page 36 of 39

2

Case 1:21-cv-10867-FDS Documenti Filed 05/25/21 Page 1 of 2

UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

Civil Action No.: 21-10867

 

DANTE A. DIFRONZO,
Plaintiff,

VS.

CITY OF SOMERVILLE,

MAYOR JOSEPH CURTATONE,

CHIEF DAVID FALLON, and

CAPTAIN BERNARD COTTER
Defendants.

 

DEFENDANTS’ NOTICE OF REMOVAL
OF ACTION FROM STATE COURT

Pursuant to 28 U.S.C. §1441(c) and 1446 the Defendants’ petition for removal of
this action to the United States District Court for the District of Massachusetts. As grounds
therefore, the Defendants’ state as follows:

1. On or about March 26, 2021, the Plaintiff filed this suit in the Middlesex Superior
Court, Civil Action No. 2181CV00679.

2. On or about May 11, 2021, the Plaintiff's complaint was served upon the
Defendant, City Of Somerville. Attached as Exhibit A is a copy of the Plaintiff's
Complaint and summons, which was served upon the Defendants.

3. In the complaint, the Plaintiff alleges Federal Civil Rights Violations pursuant to 42
U.S.C. Section 1983.

4. Because this matter is an action arising under federal law of which this Court has

original jurisdiction, as authorized by 28 U.S.C. §1331, it is subject to removal

under 28 U.S.C. §1441(c).
Case 1:21-cv-10867-FDS Document 9 Filed 06/14/21 Page 37 of 39

2

c* Case 1:21-cv-10867-FDS Document1 Filed 05/25/21 Page 2 of 2

5. This Notice of Removal is being filed within the time period required by law,

28 U.S.C. §1446(b).

Respectfully submitted,
The Defendants,
By their attorneys,

/s/ Michael Stefanilo, Jr.

Leonard H. Kesten, BBO# 542042

Michael Stefanilo, Jr., BBO# 684500

BRODY, HARDOON, PERKINS &KESTEN,LLP
699 Boylston Street, 12th Floor

Boston, MA 02116

(617) 880-7100

Ikesten@bhpklaw.com
mstefanilo@bhpklaw.com

Dated: 5/25/21

CERTIFICATE OF SERVICE

I hereby certify that this document was filed through the ECF system and will
therefore be sent electronically to the registered participants as identified on the Notice of
Electronic Filing (NEF) and paper copies will be sent this day to those participants
indicated as non-registered participants.

/s/ Michael Stefanilo, Jr.
Michael Stefanilo, Jr., BBO #684500

Dated: 5/25/21

Certified to be a truce and
correct cupy of the orfghrl
Robert M. Farrell, Clerk
U, S. Distetet Court _
District of Stassachusotts
By: ¢Y
Deputy Cte

Date: _ 05/26/2021

 
Case 1:21-cv-10867-FDS Document9 Filed 06/14/21 Page 38 of 39

COMMONWEALTH OF MASSACHUSETTS

 

 

 

 

 

MIDDLESEX, ss. SUPERIOR COURT DEPT.
CIVIL ACTION NO. 2181CV00679
)
DANTE A. DIFRONZO, )
Plaintiff, )
) a
VS. FOR SLE Coy oe ES sex
CITY OF SOMERVILLE, ) 9
MAYOR JOSEPH CURTATONE, ) MAY 27 2021
CHIEF DAVID FALLON, and )
CAPTAIN BERNARD COTTER ) PEK Opa
Defendants. )
)

 

WRITTEN NOTICE OF REMOVAL TO
FEDERAL COURT PURSUANT TO 28 U.S.C. §1446(d)

A Notice of Removal of the above-captioned action from the Superior Court of the
Commonwealth of Massachusetts, Middlesex County, to the United States District Court for
the District of Massachusetts (a copy of which Notice is filed herewith) was duly filed on
May 25, 2021 in the United States District Court for the District of Massachusetts. A copy of
the Notice of Removal, certified by the United States District Court for the District of
Massachusetts, having been duly filed with the Clerk for the Superior Court of the
Commonwealth of Massachusetts, Middlesex County, in accordance with 28 U.S.C.
§1446(d), the Superior Court shall proceed no further herein unless and until the case is

remanded.

[signatures on the next page]
Case 1:21-cv-10867-FDS Document9 Filed 06/14/21 Page 39 of 39

~~ ow

Dated: 5/25/21

Respectfully submitted,
The Defendants,
By their attorneys,

Apel ftp

Leonard H. Kesten, BBO# 542042

Michael Stefanilo, Jr., BBO# 684500

BRODY, HARDOON, PERKINS &KESTEN,LLP
699 Boylston Street, 12th Floor

Boston, MA 02116

(617) 880-7100

Ikesten@bhpklaw.com
mstefanilo@bhpklaw.com

 
